         Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 1 of 52 Page ID #:623



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                  5 Los Angeles, CA 90064-1683
                    Telephone: (310) 312-2000
                  6 Facsimile: (310) 312-3100
                  7 Attorneys for Attorneys for Plaintiffs
                    Universal Cable Productions LLC and
                  8 Northern Entertainment Productions LLC
                  9                     UNITED STATES DISTRICT COURT
                 10                    CENTRAL DISTRICT OF CALIFORNIA
                 11                            WESTERN DIVISION
                 12 UNIVERSAL CABLE                          CASE NO. 2:16-cv-4435-PA-MRW
                    PRODUCTIONS LLC, a Delaware
                 13 limited liability company, and           APPENDIX OF EXHIBITS IN
                    NORTHERN ENTERTAINMENT                   SUPPORT OF PLAINTIFFS’
                 14 PRODUCTIONS LLC, a Delaware              OPPOSITION TO DEFENDANT’S
                    limited liability company,               EX PARTE APPLICATION FOR
                 15                                          ORDER CONTINUING TRIAL
                                  Plaintiffs,                DATE AND ALL DEADLINES
                 16                                          FOR 60 DAYS
                          v.
                 17
                    ATLANTIC SPECIALTY                       File Date:          June 20, 2016
                 18 INSURANCE COMPANY, a New                 Discovery Cutoff:   May 12, 2017
                    York insurance company,                  Pre-Trial Conf.:    June 16, 2017
                 19                                          Trial Date :        July 25, 2017
                                  Defendant.
                 20
                 21
                 22                                  PART 2
                 23
                 24
                 25
                 26
                 27
    Mitchell     28
  Silberberg &
   Knupp LLP
8760186.1
                                                APPENDIX OF EXHIBITS
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 2 of 52 Page ID #:624




                        EXHIBIT 10
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 3 of 52 Page ID #:625


    From:               Qapstec C.acla
    To:                 Hayes Qaoiel
    Cc:                 Keeley Michael; Reed Joni· coyoca t ucja· Sha!amitski \/a!eotioe
    Subject:           UCP v. Atlantic - Follow-Up to This Afternoon"s Call
    Date:              Thursday, March 23, 2017 3:51:17 PM


   Dan,
   As a follow-up to our phone ca ll t his afternoon, this confirms in writing your statement that a
    privilege log is still not ready. You w ill now no longer give us an estimated date of
    completion of the privilege log. As we stated on the ca ll, the extreme tard iness of this log
    has prejud iced our client, and t hat prejudice increases with each passing day.


   As we discussed, given the continuing de lays on the privilege log and in producing
    documents, we have no choice but to seek a continuance from the court. We appreciate
    your statement that you will discuss this with your client. As we stated, we ask that you
    confer with your client very quickly.


   We believe that a continuance of all deadlines of approximately 60 days is necessary. We
   intend to move for a continuance even if the motion is opposed.


   We have now provided you w it h all the deposition dates you asked for (includ ing for Denn is
    Crosby, who, as you know, we th ink shou ld not be deposed at all ). Those dates are:


                      Sean Duffy: Week of April 3, or April 13 or 14
                      Wanda Ph illips: April 4 or 5, or week of April 17
                      Corporate Rep: Week of April 10 (We stated on the phone that April 7 would
               potentia lly work but have now confirmed that it will not).
                      Denn is Crosby: Week of April 17 (subject to our objection)


   We have received one deposition date in return: Stephen Smith on April 25, which, as we
    explained, is not acceptable to us because it is after the summary judgment dead line. Please
    provide us deposition dates on the other individuals we have named by the close of
    business on Monday. (As we discussed, we need dates well ahead of the dead line to file
    motions for summary judgment.) Otherwise, we wil l have no choice but to simply notice
    the depositions.


   Thank you,
   Ca rla



   Carla Crapster • Strasburger & Price, LLP
   901 Main Street, Suite 6000, Dallas, TX 75202
   214.651.2034 • Fax 214.659.4060 • Strasburger.com




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    copies of this message and any attachments. Thank you.
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                        EXHIBIT 11
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 6 of 52 Page ID #:628


    From:            Haves Daniel
    To:              'Toni Reed@strasburger com"; "Michael Keeley@strasburger com"; "c.acla Crapster@strasburoec com"
    Cc:              Covoca I ucja; Sbalamttski Valentine
    Subj ect:         UCP, et al. v. Atlantic - depositions
    Date:             Friday, March 24, 2017 4:45:20 PM
    Attachments:      imaoeOOl.gif


   Toni,

   We have confirmed with our client that Tom McCarthy is ava ilable for deposition in our New York
    office on Friday, April 7, 2017. We are willing to proceed on that date provided that the deposition
    of Wanda Phi ll ips is confirmed for Wednesday, April 5, 2017, also in New York City.


   Andrea Garber is available for deposition on April 13 or 14, in our Los Ange les office.


   Rand i Richmond is ava ilable for deposit ion on April 27, in our Los Angeles office.


   Kurt Ford is ava ilable for deposit ion on May 5, 2017, in our Los Angeles office.


   Jeff Wachtel is ava ilab le for deposition on May 12, in our Los Angeles office.


   Your proposed dates for Sean Duffy, Dennis Crosby and Atlantic's corporate representative would
    require us to travel to Minnesota three separate times in three separate consecutive weeks. We do
    not think that is reasonab le, and request that you provide dates that are more closely clustered so
    that we can avoid unnecessa ry trave l. For example, we wou ld be will ing to proceed with the
    deposition of Sean Duffy on April 3, 2017, if you can make Atlantic's corporate designee ava ilable on
    April 5 and 6. Alternatively, Duffy on April 18 if Atlantic's corporate designee is ava ilable on Apri l 20
    and 21. Please let us know.


   We wou ld like to take the deposit ion of Denn is Crosby on April 20, 2017.


   Please confirm the dates for Wanda Phill ips, Tom McCarthy, Andrea Garber, Randi Richmond, Kurt
    Ford, Dennis Crosby, Jeff Wachtel, Sean Duffy, and Atlantic's corporate designee.


   As to the deposition of Stephen Sm ith, as I said in our ca ll, Mr. Smith can be ava ilable on April 25 in
    Los Ange les. We can also offer Mr. Smith in Los Angeles on April 18. Therefore, your complaint that
    we are not making Mr. Smith ava ilable prior to the summary judgment fi ling deadline is moot. And
    reca ll that it was your decision to de lay even the scheduling of depositions of Plaintiffs' witnesses
    for severa l months. If April 18 or 25 do not work for some reason, we w ill make inqu iries to see if
    M r. Sm ith cou ld make himself ava ilable in London on a date prior to the summary judgment motion
    cut-off date if you agree to a video deposition or t rave l to London.


   We are working on obta ining dates for the deposition of Mark Binke. We w ill also attempt to
    procure a date for Susan Weiss, but as you know, she is employed by Aon, not NBCUn iversa l, and
    we do not control the schedu ling of her deposition. As to Ma lika Adams, as we previously have
    advised, Ms. Adams is no longer employed by Comcast. Also, it is ou r understanding that she no
    longer resides in the United States. We will reach out to her to see if she is w illing to trave l to the
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    Un ited States to be deposed, but we do not control Ms. Adams' schedule.


   Please promptly provide dates on which Pamela Johnson may be deposed. As you know, we had
    hoped to defer taking Ms. Johnson's deposition until after resolution of the attorney-client privilege
    issue as to Leon Gladstone's coverage opinion, but given Atlantic's stonewa lling on the issue, it does
    not appear that we can wa it any longer to schedule her deposition.


   Dan




   Daniel M . Hayes I Partner, through his professional corporation
   T: 310.312 .3216 I dmb@msk com
   Mitchell Silberberg & Knupp LLP I www.msk.com
   11377 W. Olympic Blvd., Los Angeles, CA 90064


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                        EXHIBIT 12
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 9 of 52 Page ID #:631




  March 27, 2017
                                                                                                    TONI sco·rr REED
                                                                                                    (214) 651-4345
                                                                                                    Direct Fax (214) 659-4091
                                                                                                    Toni.Reed@strasb urger.com



  Via Email

  Mr. Daniel M. Hayes
  Mitchell Silberberg Knupp LLP
  11377 W. Olympic Boulevard
  Los Angeles, CA 90064

  Re:       Universal Cable Productions LLC and Northern Entertainment Productions
            LLC v. Atlantic Specialty Insurance Company; Case No. 2:16-cv-04435-PA-
            MRW, pending in the United States District Court for the Central District of
            California, Western Division

  Dear Daniel:

  We have received the email from Plaintiffs' counsel this afternoon, stating that the
  privilege log will be provided to Atlantic by tomorrow, March 28, 2017. In light of
  that firm promise, we have not yet sent a submission to the Magistrate Judge today.
  If we do not receive the privilege log by tomorrow, we will proceed with the outlined
  communication, including of course the statements Plaintiffs have provided in
  today's email.

  Out of professional courtesy to you, we will agree that the time for the final meet-
  and-confer on all of Atlantic's outstanding issues raised in discovery will be on
  Tuesday, March 28, at 11:00 a.m. Pacific time (a time you selected). At that time,
  we will conduct the final meet-and-confer on the following:

        1. All items in our letter of March 17, 2017;
        2. All items in our letter of March 21, 2017.

  We have asked the Plaintiffs to state today their position in regard to Atlantic's
  planned motion for continuance. We spoke about that issue at length during our
  call last week. We again kindly ask that we have the position of Plaintiffs today, so
  that we can reflect whether they oppose the request for a 60 day extension of all
  deadlines on the current schedule. We need to finally conclude our discussion on
  this point, and will expect to do so in the call tomorrow if we do not receive the
  Plaintiffs' position today.
                                                            Strosburge r 6 Price, UP
        901 Main Street, Suite uooo I Dallas, Texas 75202.3794 I 214.651.4300 tel I 214.651.4330 fax I www.strasburger.com
        Austin I Co llin Cou nty I Dallas I Houston I San An tonio I New York, N.Y. I Washington, D.C. I Mexico City · Strasburger & Price , SC
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   Mr. Daniel M. Hayes
   March 27, 2017
   Page 2



   Please see the separate correspondence to you today regarding the planning for
   deposition dates. There are a number of witnesses we have asked to schedule, and
   you provided some dates on Friday evening. Just as we discussed in regard to
   scheduling Mr. Smith, there are a number of others for whom we need to complete
   testimony prior to the summary judgment motion deadline, and I'll detail those for
   you.

   We will look forward to concluding our conference on the various pending discovery
   items we have previously outlined in writing.

   Very truly yours,



   Toni Scott Reed

   cc:       Mr. Michael Keeley
             Ms. Carla Crapster




   8809144.1/SP/15247/0131/032717
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                        EXHIBIT 13
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 12 of 52 Page ID #:634




   March 27, 2017
                                                                                                      TONI sco·rr REED
                                                                                                      (214) 651-4345
                                                                                                      Direct Fax (214) 659-4091
                                                                                                      Toni.Reed@strasburger.com



   Via Email

   Mr. Daniel M. Hayes
   Mitchell Silberberg Knupp LLP
   11377 W. Olympic Boulevard
   Los Angeles, CA 90064

   Re:       Universal Cable Productions LLC and Northern Entertainment Productions
             LLC v. Atlantic Specialty I nsurance Company; Case No. 2:16-cv-04435-PA-
             MRW, pending in the United States District Court for the Central District of
             California, Western Division

   Dear Daniel:

   We are following up regarding the ongomg efforts to schedule fact witness
   depositions. We will certainly work with you to plan Minneapolis dates that are
   more closely spaced in time, so that you can make fewer trips to Minnesota for
   depositions. We'll follow up with the witnesses, including Ms. Johnson, and get
   back with you on a suggested further proposed schedule that attempts to group the
   dates together for travel purposes.

   Concurrently, we'd like your cooperation in ensuring that Atlantic can complete a
   number of fact witness depositions prior to the date the summary judgment motions
   are due. I mentioned Mr. Smith to you as an example of a person in that category
   last week, when his was the only suggested date you provided. We definitely need
   Mr. Smith to be presented before the summary judgment motions are due. We note
   your April 18 date you have mentioned for Mr. Smith, and request that you please
   hold that date for his deposition. We also need the following to be presented at least
   seven (7) days before the summary judgment deadline:

         a. Susan Weiss;

         b. Andrea Garber (please hold the suggested April 13 and 14 dates for her as we
            finalize who can be available in Los Angeles together as well);


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         Austin I Co llin Cou nty I Dallas I Houston I San An toni o I New York, N.Y. I Washington, D.C. I Mexico City · Strasburger & Price , SC
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   Mr. Daniel M. Hayes
   March 27, 2017
   Page 2


      c. Malika Adams;

      d. Mark Binke;

      e. Randi Richmond; and

      f. 30(b)(6) representative on Topics 1 (excluding LOSS), 4, 5, 7, 11, 12, 13, 14,
         15, 20, 25, 30, 37, 38, 39, 40, 41, 42, 43, and 45.

   To the extent you have lodged objections to providing the factual basis for your
   various contentions in this case, including with regard to the exclusions, Atlantic's
   position is that the designations of those topics is appropriate, and that the
   Plaintiffs must present a witness on their positions and contentions.

   You have asked that we schedule non-employees and former employees through
   your firm, so we are continuing our efforts to do so. If you are not able to or no
   longer take the position that you will present Ms. Weiss and Ms. Adams, we need to
   know that immediately, and we need to obtain their contact information from you.

   As you know, we have been waiting for the completion of the production of
   documents and the provision of the privilege log so that we can proceed with
   depositions in an orderly fashion. At this point, we are still waiting, but see no
   option but to also work on scheduling for depositions at the same time. If we believe
   it necessary, we will issue notices for the depositions, subject of course to our
   pending discovery rights. The issue of being afforded the opportunity to take the
   necessary fact witness depositions prior to summary judgment practice will also be
   mentioned as a part of the anticipated motion for continuance.

   We'll look forward to your cooperation on the scheduling for these witnesses.

   We renew the request to complete the scheduling for the remaining witnesses on
   the Atlantic list provided to you as well, although we do not require that those
   depositions be completed before the date summary judgment motions are due.
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   Mr. Daniel M. Hayes
   March 27, 2017
   Page 3



   We will respond to you further regarding the later deposition dates you have
   proposed, but will also ask that you work with us to cluster dates for the witnesses
   who will appear in Los Angeles.

   Very truly youTs,



   Toni Scott Reed

   cc:       Mr. Michael Keeley
             Ms. Carla Crapster




   8808348.1/SP/15247/0131/032717
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                        EXHIBIT 14
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 16 of 52 Page ID #:638


    From:              Haves Daniel
    To:                "Reed Toni"; Crapster (.aria
    Cc:                Sha!amitski, Yaleotioe
    Subject:           RE: Call today
    Date:              Tuesday, March 28, 2017 10:23:14 AM
    Attachments:       imaoeOOl.gif


    OK, please ca ll us at my office line at 11.




    Daniel M . Hayes I Partner, through his professional corporation
    T: 310.312.3216 I dmh@msk com
    Mitchell Silberberg & Knupp LLP I www.msk.com
    11377 W . Olympic Blvd., Los Angeles, CA 90064


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    From: Reed, Toni [mailto:Toni.Reed@strasburger.com]
    Sent: Tuesday, March 28, 2017 9:10 AM
    To: Hayes, Daniel; Crapster, Carla
    Cc: Shalamitski, Valentine
    Subject: RE: Call today

    Counsel,

    The only opening I have in my schedule today is from 11 to 1 Pacific. I was going to let you
    know that I do have a hard cutoff time, due to another scheduled meeting I must attend.

    Best regards,
    Toni Scott Reed

    Toni Scott Reed • Strasbmger & Price, LLP
    901 Main Street, Suite 6000, Dallas, TX 75202
    214.651.4345 • Fax 214.659-4091 • Strasburger com


    -----01iginal Message-----
    From: Hayes, Daniel [mailto:dmh@msk.com]
    Sent: Tuesday, March 28, 2017 10:57 AM
    To: Reed, Toni; Crapster, Carla
    Cc: Shalamitski, Valentine
    Subject: Call today

    Is it possible to move it to 2 Pacific? If not I will try to make 11 work, just pleas e let me know.
     Thanks
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                        EXHIBIT 15
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 19 of 52 Page ID #:641


   <Wmsk
                                                                                                           Daniel M. Hayes
   MITCHELL SILBERBERG & KNUPP LLP                                                                                 Partner
   A LAW PARTNERSHIP INCLUDING PROFESSIONAL CORPORATIONS
                                                                                                     (310) 312·3216 Phone
                                                                                                        (310) 231·8436 Fax
                                                                                                            dmh@msk.com


   March 28, 2017

   VIA E-MAIL O NLY [TONI.REED@ STRASBURGER.COM]

   Toni Scott Reed
   Strasburger & P1ice, LLP
   901 Main Street, Suite 6000
   Dallas, Texas 75202-3794

   Re:       Universal Cable Productions LLC, et al. v. Atlantic Specialty Insurance Company

   Dear Toni:

   Over the past five months, Plaintiffs have provided an abundant amount of financial inf01mation
   supporting their damage claim. Notwithstanding that voluminous production, dming the
   ongoing meet and confer process, you have continued to request additional documents, and your
   position is constantly shifting as to what it is that you contend Atlantic needs in order to analyze
   Plaintiffs' damage claim. Moreover, you persist in requesting documents that already have been
   produced, and it appears you have not taken the time to analyze what already has been produced.
   Indeed, today, you again asked for documents that, as I had told you previously, were already
   produced on Febmary 17, 2017. This letter summarizes our substantial eff01is to provide you
   and your client with all of the inf01mation you might need to evaluate Plaintiffs' damage claim -
   and much more - and sets fo1th what additional effo1is we will make. Upon completion of those
   additional effo1ts, the matter of Plaintiffs' financial document production will be closed.

   I.        Brief History

   On October 26, 2016, Plaintiffs produced the Extra Expense production bible which, as you
   know, contains an eno1mous amount of detailed financial data supp01ting Plaintiffs' extra
   expense claim. Following that production, Atlantic requested the underlying invoices for tens of
   thousands of entiies in the production bible. As we explained in our Janua1y 23, 2017 letter,
   producing every single invoice is umeasonable (because, inter alia, it is wholly unnecessary) and
   would be unduly burdensome. That said, in the same letter, we told you that to the extent you
   continued to demand back up invoices, "we believe that the onus is on Atlantic to pay for all of
   the expenses associated with such a production" and asked that you "please confam that Atlantic
   will pay the costs associated therewitl1 and we will send you an anticipated budget." You never
   responded to this request.

   Instead, during a meet-and-confer call on January 25, 2017, your office requested other
   information to help it evaluate Plaintiffs ' claim. Specifically, Atlantic requested four additional
   categories of inf01mation:



                                                           11377 West Olympic Boulevard, Los Angeles, California 90064-1683
   8741929.1 / 46250·00001                                 Phone: (310) 312-2000 Fax: (310) 312-3100 Website: WWW.MSK.COM
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 20 of 52 Page ID #:642


   <Wmsk
   Toni Scott Reed
   March 28, 2017
   Page 2


        1. Documentation showing the tax credits provided by the Croatia and New Mexico taxing
           auth01ities and the accounting reports or documents submitted to the taxing authorities to
           substantiate the credits;

       2. Documents showing a fmther breakdown of the extra expenses (as reflected in the Extra
          Expense production bible) by categ01ies or synopsis, whether in Excel f01m or some type
          of a narrative;

        3. A list of abbreviations used in the Extra Expense production bible; and

       4. Documents provided to Plaintiffs' damages expe1t and relied upon by the expe1t to
          suppo1t Plaintiffs' damages calculation.

   Plaintiffs produced the documents in Categ01ies 1-3 on (or in some cases, before) Febmary 25,
   2017. As we discussed today, the documents in Categ01y 4 have been produced as well, all prior
   to the delive1y ofRobe1t Wunderlich's expe1t report on March 17, 2017.

   On Febmary 23, 2017, you requested a new vague categ01y of financial documents, which you
   later would desc1ibe in a March 10, 2017 letter to me, as follows: "Existing Documents (in
   either Excel or nanative f01m) that discuss the differences between the initial budget for DIG
   and the final incmTed total costs and expenses for the DIG se1ies, including but not limited to
   those that discuss why there were differences in total costs and what made up the differences."
   The next day, Febmruy 24, 2017, I noted in om telephone call that Plaintiffs produced
   documents labeled UCP004076-UCP018002 on Febma1y 17, 2017 which contain, among other
   inf01mation, numerous budgets and cost rep01ts related to the Dig Production. I asked that you
   review the document production and let me know whether those documents satisfied your new
   request. I followed our conversation with an email that same date, confuming what I had told
   you.

   On Mru·ch 6, 2017, in another telephone conversation, without any prompting from me, you said
   that you did not want to have to review thousands of invoices, and then made your new request
   for documents that show the variance between budgeted and actual costs again, without
   confuming whether you had actually reviewed om production as I previously requested.

   On Mru·ch 10, 2017, you reversed your position on the "invoice" issue from a few days earlier.
   In an effort to justify your new request for documents that show the variru1ce between budgeted
   and actual costs, you made the following asse1tion: "Plaintiffs have lodged objections to
   producing all invoices that are the backup for the damages claimed in the case."

   On Mru·ch 14, 2017, I responded to your March 10 letter, to set the record straight, and told you,
   in pe1tinent prut, the following inf01mation:

   First, I told you that I had checked our Febmruy 17, 2014 production and confirmed that we did
   indeed produce documents that show the vruiance between budgeted and actual costs, with
   explanation, on that date.




   8741929.1/46250-00001
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   <Wmsk
   Toni Scott Reed
   March 28, 2017
   Page 3


   Second, I explained that your assertion that "Plaintiffs have lodged objections to producing all
   invoices that are the backup for the damages claimed in the case" was inaccurate, incomplete,
   and that it mischaracterized the hist01y of our meet-and-confer on this issue (summarized above).
   I explained, once again, that we had told you repeatedly that the search for and retrieval of each
   and eve1y invoice would be an expensive and burdensome process, but that to the extent you
   continued to demand back up invoices, we asked you confnm that Atlantic would pay the costs
   associated with collecting the invoices. Again, you never responded to our offer.

   With respect to your request for documents that show the va1iance between budgeted and actual
   costs, despite the numerous exchanges on this issue summarized above, you again raised your
   request in your March 17, 2017 letter, and asked for the Bates number of a specific document
   that we thought met your desc1iption. We gave that to you today when we spoke - UCP015288-
   15309. We told you that document was merely exemplary, and there were many more like it in
   our February 17 production. Of course, it is your burden to analyze the documents that have
   been produced, and we are not required to do your work for you.

   II.      Final Efforts To Resolve Any Remaining Disputes Over The Production Of
            Financial Information

   We stand by our objection that there is no reason Atlantic would need the underlying cost backup
   documentation. The extensive and substantial financial data that Plaintiffs have already
   produced, together with Mr. Wunderlich's report, is more than enough for Atlantic to evaluate
   Plaintiffs ' damage claim. Nonetheless, and even though you have never responded to our offer
   to search for documents at Atlantic's expense, in order to put an end to the "invoice" debate, we
   have continued to t1y to find alternative reasonable ways to accommodate as much of your
   requests for additional documents as possible, and have located two sources of at least a
   substantial p01tion of the same:

         1. We collected ce1tain inf01mation stored in an electr·onic database maintained by a third-
            pa1ty vendor called "Optirnis." The documents that we were able to collect consist of
            invoices and other backup documentation that were coded to the New Mexico and
            Croatia p01tions of the Dig production. To be clear: this is a subset of the backup - it is
            not each and eve1y invoice that was submitted in connection with the New Mexico and
            Croatia p01tions of the Dig production. Archived hard copies - which may be more
            complete - are kept in storage and are not reasonably accessible. Moreover, the
            information does not relate solely to extra expenses, because to cull those documents out
            from the entire database would be, as we have previously advised, too time consuming
            and burdensome to unde1take if Atlantic is not going to pay for it. (This is pa1ticulaJly
            true in light of the fact that Atlantic does not even need these invoices to evaluate the
            extra expenses.)

            We are prepaiing these documents for production to Atlantic tomonow.

         2. We ai·e (and have been) in contact with the Croatian production company involved in the
            Croatia portion of the Dig production - who we do not contr·ol - and have requested they
            search for and collect any Dig related invoices and other cost backup they have in their


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            possession that is reasonably accessible, at Plaintiffs' cost, and deliver that
            documentation to us. When we receive that documentation, we will review it and
            produce it to Atlantic as quickly as possible (subject, of course, to our identification of
            any that must be withheld on the basis of an objection).

                                                     ***
   None of the documents we intend to produce in the above two catego1ies are necessa1y to resolve
   Plaintiffs' damage claim, considering the substantial detailed financial rep01ts and other data
   Plaintiffs have ah·eady produced. On the contrary, we are producing these two additional
   categories of documents to eliminate the need to discuss Plaintiffs' production of financial
   documents any fuither. After a limited production today (containing mostly duplicative
   info1mation), the only documents that remain to be produced in response to the First Set of
   Requests for Production are the two categories of fmancial documents, described above. If you
   think you require additional inf01mation concerning the documents Plaintiffs have produced, you
   are free to explore the same in your depositions.

   We now consider the issue of Plaintiffs' production of financial inf01mation closed.

   Regards,




   Daniel M. Hayes
   Partner of
   MITCHELL SILBERBERG & KNuJ>p LLP




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    March 29, 2017
                                                                                        CARLA C. CRAPSTER
                                                                                        (21-1) 661·2034
                                                                                        Direct Fax (2M) 659.,tOOO
                                                                                        Curlu.Crapstcr@strusburgl!r.com


    VIA E-MAIL AND U.S. MAIL

    Lucia E. Coyoca, Esq.
    Valentine A. Shalamitski, Esq.
    Daniel M. Hayes, Esq.
    Mitchell Silberberg & Knupp
    11377 West Olympic Boulevard
    Los Angeles, California 90064-1683

    Re:       Universal Cable Productions LLC and Northern Entertainment Productions
              LLC u. Atlantic Specialty Insurance Company; No. 2: 16-cv-04435-PA-MRW,
              pending in the United States District Court for the Central District of
              California, Western Division

    Counselors:

    Please find attached the following deposition notices:

              (1)       Notice of Deposition of Malika Adams;
              (2)       First Amended 30(b)(6) Notice of Deposition of Universal Cable
                        Productions, LLC;
              (3)       First Amended 30(b)(6) Notice of Deposition of Northern
                        Entertainment Productions, LLC;
              (4)       First Amended Notice of Deposition of Susan Weiss;
              (5)       First Amended Notice of Deposition of Andrea Garber;
              (6)       First Amended Notice of Deposition of Mark Binke;
              (7)       First Amended Notice of Deposition of Randi Richmond;
              (8)       First Amended Notice of Deposition of Stephen Smith; and
              (9)       First Amended Notice of Deposition of Kurt Ford.

    It remains our preference to schedule these depositions during mutually convenient
    dates if we can agree to do so well ahead of the Motion for Summary Judgment
    deadline, or if the court grants our Motion for Continuance. But, given that we have
    not been able to agree upon dates yet, and given the looming deadlines, we felt we
    had no choice but to formally notice the depositions. We look forward to hopefully



                                                    Strasburger & Price, LLP
 901 Main Street, Suite 6000 1 Dallas, Texas 75202.3794 I 214.651.4300 tel I 214.651.4330 fax I www.strasburger.com
        ,\ustin I Collin County Dallas I lfouston l New York I S3n ,\ntonio I Washington. n.c. I Mexico Citv • Slrasburi;cr & Price, SC
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   Counselors
   March 29, 2017
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   resolving this and all remaining discovery disputes in what hopefully will be a final
   meet-and-confer call tomorrow.




   Carla C. Crapster
   CCC:mg
   Enclosures

   cc:        Mr. Michael Keeley
              Ms. Toni Scott Reed




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                        EXHIBIT 17
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                                                                                                           Daniel M. Hayes
   MITCHELL SILBERBERG & KNUPP LLP                                                                                  Partner
   A LAW PARTNERSHIP INCLUDING PROFESSIONAL CORPORATIONS
                                                                                                     (310) 312·3216 Phone
                                                                                                        (310) 231 ·8436 Fax
                                                                                                            dmh@msk.com


   March 29, 2017

   VIA E-MAIL ONLY



   Toni Scott Reed, Esq.                                     Carla C. Crapster, Esq.
   Strasburger & Price, LLP                                  Strasburger & Price, LLP
   901 Main Street                                           901 Main Street
   Suite 6000                                                Suite 6000
   Dallas, TX 75202                                          Dallas, TX 75202

   Re:       Universal Cable Productions vs. Atlantic Specialty

   Dear Toni and Carla:

   We wanted to briefly memorialize where the patties stand on the six points set f011h in your
   Mai·ch 17, 2017 letter, following our meet-and-confer yesterday, March 28, and ce1tai11
   statements made in your letters sent today, so that there are no misunderstandings if and when
   these issues are presented to the Magistrate Judge.

         1. Piivilege Log. Yesterday, we produced Plaintiffs' supplemental privilege log and the
             accompanying legend of names. (As we previously explained, we had anticipated
             completing the supplemental log sooner (during the week of March 13 or 20), but due to
             unavoidable inte1vening circumstances (e.g., one of the attorneys primarily working on
             the privilege log was ill during most of the weeks of March 13 and 20), required
             additional time to complete the log.) With respect to the legend, to alleviate Atlantic 's
             concern in connection with the use of the word "related" in the definition of
             ''NBCUniversal" on the original log (which we still believe is proper), the description has
             been revised to eliminate the word "related" as follows: "For purposes of this privilege
             log, the te1m ''NBCUniversal" means and refers to NBCUniversal Media, LLC, Universal
             Cable Productions LLC, and all of their parent, subsidia1y, or affiliated entities."

             We categorically disagree with Atlantic's unsupported position, as expressed during the
             meet-and-confer, that if one of the participants in an othe1wise privilege communication
             is employed by, for example, a subsidia1y of NBCUniversal, that alone is sufficient to
             destroy the p1ivilege as to that communication. Atlantic 's position is contra1y to the plain
             language of California's statut01y privilege, and the law which sensibly recognizes that
             communications between attorneys and employees of parent, subsidiaiy, or affiliate of a
             client in connection with legal representation and advice are within the scope of privilege.

             Moreover, none of the cases cited in your March 17, 2017 letter are on point or stand for
             the proposition that all individuals involved in a communication must be employed by
             Plaintiffs in order for privilege to apply. Rather, the law is to the contra1y. See, e.g., Cal.
             Evid. Code§ 952 (defining privilege to encompass clients and other persons and entities
                                                           11377 West Olympic Boulevard, Los Angeles, California 90064-1683
   8745538.1 /46250-00001                                  Phone: (310) 312-2000 Fax: (310) 312-3100 Website: WWW.MSK .COM
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             in confidential communications "to finiher the interest of the client" or "those to whom
             disclosure is reasonably necessruy for the transmission of the inf01mation or the
             accomplishment of the purpose for which the lawyer is consulted"); Zurich Am. Ins. Co.
             v. Super. Ct. , 155 Cal App. 4th 1485, 1501 (2007) (California's statut01y attorney-client
             privilege is broad: in a c01porate setting, it extends to communications involving all
             levels of employment, from high to middle, to low); Ins. Co. ofN Am. v. Super. Ct., 108
             Cal. App. 3d 758, 765, 767-70 (1980) (confidential communications among pru·ent and
             directly or indirectly wholly-owned subsidia1y or affiliate entities are p1ivileged: "the
             fact that the communications ru·e among formally different c01porate entities which are
             under common ownership or control leads this comt to treat such inter-related-c01porate
             communications in the same manner as intrac01porate communications [i.e. ,
             p1ivileged]"). If you have any additional or different auth01ity, please provide it and we
             will consider it.

             We maintain that the foregoing inf01mation is sufficient to enable Atlantic to assess the
             claim of privilege, without the need to "specifically identify the exact employer of each
             person listed on [the] p1ivilege log" as Atlantic requests. However, as we said during the
             call, if aBer reviewing the supplemental log Atlantic has questions about any particular
             row, we are happy to address such issues if and when they arise.

        2. Redactions. As we discussed at length, there are two components to this issue:

                    a. Redactions on the basis ofprivilege: Plaintiffs have logged redactions made on
                       the basis of privilege on the supplemental privilege log. If Atlantic has further
                       questions about a pa1ticular redaction, please let us know and we will address
                       those. You stated that you are not sure whether Atlantic logged redactions based
                       on privilege on its ptivilege log. In your letter we received today, you state that
                       Atlantic logged redactions based on p1ivilege, and provide us with three
                       "examples" of said entries: "dated 11/18/ 14, 1/06/ 15, and 4/07/15." Please
                       provide an amended log which lists all redactions with the conesponding bates
                       numbers for each of the redactions. We cannot asce1tain this info1mation from
                       Atlantic 's log or your explanation because among other things, there are multiple
                       entries on the log dated 11/18/ 14 and 4/07 / 15 and there is no entiy dated 1/06/ 15.
                       We have provided bates numbers for redacted documents on Plaintiffs'
                       supplemental log. Please let us know when you will provide tl1e amended log.

                    b. Redactions on a basis other than privilege: In your March 17, 2017 letter, you
                       stated: "We are willing to agree to log Atlantic's redactions of inf01mation that
                       was withheld for confidentiality reasons in exchange for your agreement to do the
                       same." Yesterday, we said we are willing to agree to this reciprocal ruTangement
                       for logging redactions made on grounds other than privilege, and that our
                       respective logs would be modeled on Atlantic's "Second Supplemental Privilege
                       Log," which you prepared, and in which you describe redactions made to the
                       Publicis Claim File and Middle East Claim file. Smp1isingly, you said that you



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                        needed to check with your client to determine whether it is still willing to agree to
                        log the redactions it made based on grounds other than privilege. In your letter
                        today, you state: "In my letter of March 17, 2017, the offer was made to schedule
                        redactions based upon confidentiality on a privilege log, in exchange for Plaintiffs
                        doing the same. You have seen an example of our method of noting such
                        redactions in the Second Supplemental P1ivilege log. You indicated yesterday a
                        willingness of the Plaintiffs to enter into such a reciprocal a1nngement. I am
                        confinning my client also agrees, and that we will provide a Third Supplemental
                        Privilege Log to reflect the confidentiality redactions made on the documents you
                        have afready received, as soon as possible. I estimate that you will have the Third
                        Supplemental in one week or less." Plaintiffs will reciprocally log their
                        redactions within the same time estimate.

        3. Plaintiffs' claim that Work Product protection attached July 17, 2014. I reiterated the fact
           that Theresa Gooley testified, under oath, that the decision that the Dig Claim was going
           to be denied was conveyed to Plaintiffs on July 17, 2014. Gooley Depo, 184:18-25. But
           as I said, even if Pamela Johnson said ''we 're se1iously conside1ing" denial in the July 17,
           2014 phone call, as you say she did, Plaintiffs anticipated litigation afier that July 17
           phone call, and Plaintiffs were reasonable in doing so. I asked that you (i) provide us
           with your position regarding why Plaintiffs were not entitled to anticipate litigation as of
           that moment, (ii) identify when you contend Plaintiffs' anticipation of litigation accmed,
           and (iii) provide any authority that supp01ts your position(s). You did not respond to (i).
           With respect to (ii), you stated that Plaintiffs could not have reasonably anticipated
           litigation until they decided to object to Atlantic 's formal written denial letter. I asked
           you for any exempla1y legal authority that supp01ted this proposition (not all legal
           authority, just one or two cases). You flatly refused to provide any legal authority. If
           you present this issue to the Magistrate Judge, we expect you will not cite any legal
           authority for your position.

        4. Damages documents. We said we would send you a letter addressing this issue
           yesterday. We did.

        5. Ptivilege claims where attorneys are "merely" "cc 's." As we explained, your argument
           and case auth01ity are inapposite. The presence of an attorney on the " to," "from," or
           "cc" line is never dispositive, but is evidence supporting the asse1tion of privilege. The
           question is whether a communication is a "confidential communication" wit11iu the
           meaning of California Evidence Code section 952. We pointed out that, with respect to
           each of the nine documents that you reference in your letter, the descriptions of those
           documents provided in the log futther substantiated our privilege claim. You did not
           inquire fu1ther after we pointed that out. We do not understand your position to be that
           any email sent to an attorney as a cc cannot be p1ivileged. If you do maintain that
           position, please let us know. Otherwise, as we said dming the call, we are happy to meet-
           and-confer regarding any pa1ticular row on our privilege log that you feel it is uecessaiy
           to discuss.



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        6. Limiting the Deposition of Sean Duffy and Barring the Deposition of Dennis Crosby. As
           we stated during the call yesterday, your position here is unjustified and unsupportable.
           Plaintiffs do not agree to forego taking Mr. Crosby's deposition or to limit Mr. Duffy 's
           deposition to less than what is permitted by statute.

             As to both Mr. Crosby and Mr. Duffy, we are not seeking either of their depositions
             because they are purp01tedly at "the pinnacle of [Atlantic's] corporate stmcture," as you
             argue, but because they are percipient witnesses with relevant knowledge. Indeed, the
             discussion in your March 17, 2017 letter proves they were directly involved in the denial
             of the Dig claim. You indicated: "Mr. Duffy had only fleeting involvement with the Dig
             claim. As you know from the co1Tespondence we produced, he stated in a one-sentence
             email that he agreed with the analysis in the denial letter. This was the extent of his
             involvement. Mr. Crosby had even less involvement with the Dig claim. He was
             f01warded the denial letter at one point and then proceeded to f01ward it on to Peter
             Williams (who already knew of the Dig claim) and in that forwarding e-mail said only:
             'FYI. ' This is the total of his involvement in the Dig claim." (Emphasis added.) First,
             that statement is inc01Tect. The attachment to the email chain to which you refer
             indicates that the attachment was: "Opn Ltr to Pamela Johnson." It does not indicate it
             was a draft of the denial letter. The attachment appears to reference the opinion letter
             authored by Leon Gladstone which Ms. Gooley testified was received by Atlantic on July
             21 , 2014. Ms. Gooley's email to Mr. Duffy which begins this chain, is dated July 22,
             2014, and the denial letter was not sent until July 28, 2014. At the ve1y least Plaintiffs
             are entitled to question the two witnesses as to what was attached, and are not required to
             take your word for it.

             Based on the documents produced, it appears both of Mr. Duffy and Mr. Crosby had the
             opp01tunity to review, consider, and approve the coverage opinion from Leon Gladstone.
             See ATL001829-31 (title of the attachment: "Opn Ltr to Pamela Johnson" received, etc.
             by, among others, Duffy and Crosby), ATL001832-34 (continuing email chain). And in
             your discove1y responses, Atlantic identified Mr. Duffy in responses to Inte1Togat01y
             Nos. I and 2 as a person who was "responsible for the decision to deny the Dig Claim"
             and who was involved in "evaluating and conside1ing the Dig Clain1." Plaintiffs are
             entitled to depose both of these witnesses as to the extent of their consideration of the
             denial, based on the presentation of the issue to them by Ms. Gooley.

             Moreover, Atlantic's own insurance expe1t, Anthony Clark, relied on the fact that the
             decision to deny the Dig Claim was approved by various supervisors up the chain of
             command, as evidence of Atlantic 's good faith investigation and claim handling. In
             addition to Ms. Gooley, Mr. Duffy and Mr. Crosby were the up-the-chain Atlantic
             employees that would have given the referenced supe1vis01y approval to which Mr. Clark
             refe1Ted. To state the obvious, Atlantic and its insurance expert are relying on the
             decisions by "supe1visory personnel" (including Mr. Duffy and Mr. Crosby), who in tum,
             appear to have relied on Mr. Gladstone' s opinion in reaching their "supe1viso1y"
             decision. Perhaps they relied on more than Gladstone' s opinion; Plaintiffs do not know,


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             but they are entitled to discover this c1itical infom1ation. Either way, even without
             Atlantic' s expe1t's statements, it cannot be reasonably disputed that both Duffy and
             Crosby have unique personal knowledge relevant to the case, including inf01mation about
             the consideration of and denial of the Dig claim from a supervis01y perspective and
             othe1wise.

             Fruther, even assuming for purposes of argument only that either witness is at the "apex"
             of Atlantic's corporate stmcture, Atlantic will not satisfy the requirements of an
             othe1wise protected "apex" deposition here because Plaintiffs are not seeking to depose
             these witnesses "automatically" as you claim. Rather, Plaintiffs have engaged in
             extensive written and document discove1y, deposed and are in the process of deposing
             four lower-level Atlantic' s employees who handled the Dig claim (Mr. Gutte1man, Ms.
             Johnson, Ms. Gooley, and Mr. Williams), but are still lacking inf01mation about, for
             example, consideration and denial of the Dig claim by Atlantic's supervis01y personnel.

             Finally, as I said during our call, if these witnesses have no or ve1y little pe1tinent
             inf01mation, these will be sh01t depositions. But we will not, under any circumstances,
             agree to preemptively limit the time or scope of either deposition, especially given that in
             all three depositions of Atlantic witnesses to date, unexpected and highly relevant
             documents were revealed.

             I asked that you provide us with an answer today to the question whether you intend to
             stand on your objections to these depositions. You said the "final decision-maker"
             needed to make the call, so you did not know whether you would have an answer today.
             Given the need to get these depositions set and taken, if the issue is not resolved during
             tomorrow' s meet and confer, we will bring this issue to the Magistrate Judge.

        7. Deposition Scheduling. We received your letter today with notices for the depositions of
           Plaintiffs ' witnesses. Your unilateral setting of dates for these depositions is
           unacceptable, paiticularly in light of the numerous dates that we previously provided on
           which Plaintiffs witnesses may be deposed. Dming the call tomonow please be prepared
           to discuss deposition scheduling. Based on your letter of today indicating your
           unwillingness to proceed with the depositions of Wanda Phillips and Tom McCa1thy next
           week, we have inf01med Mr. McCa1thy that his deposition will not be proceeding next
           week. However, we simply cannot continue to proffer dates for Plaintiffs ' witnesses to
           be deposed, and then have Atlantic fail to proceed with scheduling the depositions or
           unilaterally attempt to impose different dates. You are complaining that you need a trial
           continuance in part because you have not deposed Plaintiffs' witnesses, and yet you
           stalled for months in the setting of any depositions. You unilaterally took all of the
           previously offered dates off calendar in late Febma1y, and cunently are refusing to
           confnm the deposition dates that we have offered.

             Specifically, we proposed several dates on Friday, March 24, and you simply ignored the
             dates we offered as to the majority of the witnesses. As to Stephen Smith, we previously



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             offered April 18 for Mr. Smith to be deposed. As you are well aware, Mr. Smith needs to
             travel from London, England for his deposition. In your March 27, 2017 letter, you
             indicated that you want us to "hold that date for his deposition" but you did not confum
             that you would take his deposition on that date until your notice today. As to Ms. Weiss
             and Ms. Adams, we will be prepared to discuss those depositions tomorrow. As to the
             other witnesses, in some instances, we offered dates, but you unilaterally noticed these
             depositions for different dates than the ones offered. You previously asked us to keep
             dates reserved (or multiple dates reserved), but failed to confom the dates on which you
             will be proceeding. This is simply unacceptable. Atlantic is seeking to depose several
             high level executives with limited availability. As time passes, the dates we previously
             proposed for our witnesses are sta1ting to become unavailable.

             Finally, we need confomed dates for Ms. Phillips, Mr. Duffy, Mr. Crosby and Atlantic' s
             Rule 30 (b) (6) designee, immediately, so that travel plans can be a1rnnged. It is
             imperative that you be prepared to set deposition dates for these witnesses tomorrow.

   The above is not intended to be a full recitation of the parties ' meet-and-confer. All rights are
   reserved.

   As to your email concerning scheduling another meet and confer, we are not available tom01Tow,
   March 30, 2017 at 9 a.m. We could do the call at 110011 tom01rnw. Please confnm your
   availability.

   Sincerely,


   ,&{
   Daniel M. Hayes
   Paitner of
   MITCHELL SILBERBERG & KNuPP LLP

   DMH/mxb




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                        EXHIBIT 18
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   March 29, 2017
                                                                                                        TONI sco·rr REED
                                                                                                        (214) 651-4345
                                                                                                        Direct Fax (214) 659-4091
                                                                                                        Toni.Ree d@strasb urger.com



   Via Email

   Mr. Daniel M. Hayes
   Mitchell Silberberg Knupp LLP
   11377 W. Olympic Boulevard
   Los Angeles, CA 90064

   Re:       Universal Cable Productions LLC and Northern Entertainment Productions
             LLC v. Atlantic Specialty Insurance Company; Case No. 2:16-cv-04435-PA-
             MRW, pending in the United States District Court for the Central District of
             California, Western Division

   Dear Daniel:

   This is further to my letter of March 27, 2017.

   We are not able to be in New York for an April 7 deposition date, as you suggested
   for Mr. McCarthy. We would like to see the New York depositions occur close in
   time, as you had suggested. Therefore, we need to see McCarthy, as well as Wanda
   Phillips, set in later weeks during April.

   Please confirm immediately whether you are presenting Ms. Weiss and Ms. Adams
   for depositions, and taking the position that the scheduling must be coordinated
   through you, as we need to proceed to contact them directly if that is not the case.

   We will look forward to resolving the objections you have lodged to the 30(b)(6)
   notice tomorrow. As I mentioned in my last letter, to the extent Plaintiffs have
   lodged objections to providing the factual basis for your various contentions in this
   case, including with regard to the exclusions, Atlantic's position is that the
   designations of those topics is appropriate, and that the Plaintiffs must present a
   witness on their positions and contentions.

   We will continue to work on Minnesota dates, but we do not have those established
   yet.


                                                               Strosburge r 6 Price, UP
         901 Main Street, Suite uooo I Dallas, Texas 75202.3794 I 214.651.4300 tel I 214.651.4330 fax I www.strasburger.com
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   Mr. Daniel M. Hayes
   March 29, 2017
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   I'll look forward to your cooperation and assistance.

   Very truly yours,



   Toni Scott Reed

   cc:       Mr. Michael Keeley
             Ms. Carla Crapster




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    From:              Haves Daniel
    To:                "Reed Toni"; shalamitskj Valentine; coyoca Lucia
    Cc:                Keeley Michael; crapster c.arla
    Subject:           RE: Plaintiffs" Second Set of Discovery Responses/Deposition Objections - Meet and Confer
    Date:              Thursday, March 30, 2017 10:01:11 AM
    Attachments:       imaoeOOl.gif
    Importa nce:       High


    Toni,


    We are available to ta lk anytime today from 10:30 Pacific on. Please let us know what works for
    you. In any event, we absolutely need to ta lk today about deposition scheduling. Please confirm
    that you can speak for at least 30 minutes on that subject at 10:30 Pacific.


    Dan




    Daniel M . Hayes I Partner, through his professional corporation
    T: 310.312 .3216 I dmh@msk.com
    Mitchell Silberberg & Knupp LLP I www.msk.com
    11377 W. Olympic Blvd ., Los Angeles, CA 90064


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    From: Reed, Toni [mailto:Toni.Reed@strasburger.com]
    Sent: Thursday, March 30, 2017 9:53 AM
    To: Hayes, Daniel; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/ Deposition Objections - Meet and Confer

    Dan,


    I have seen your indication that you are not available for the suggested t ime for today. I am not able
    to clear my conflicts this afternoon for the time you suggested.


    I am now suggesting Friday, Ma rch 31, at 2:00 centra l/12:00 noon Pacific. I am available for 1.5
     hours in that slot but must conclude at 3:30 my time.


    Best regards,
    Toni Scott Reed

    Toni Scott Reed• Strasburger & Price, LLP
    901 Main Street, Suite 6000, Dallas, TX 75202
    214.651.4345 • Fax 214.659-4091 • Strasburger.com
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 38 of 52 Page ID #:660



    From: Reed, Toni
    Sent: Wednesday, March 29, 2017 2:35 PM
    To: 'Hayes, Daniel'; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/ Deposition Objections - Meet and Confer

    Dan,

    Unfortunately, I cannot start as late as 2:00 p.m. Pacific/4:00 p.m. Central t ime tod ay. I am
    completely booked from 3:30 Central until late into t his evening.


    I suggest that my requested call go forwa rd on Thursday, March 30, to address my fi rst-made
    request noted below, on the items we have previously set out, including in correspondence. I
    suggest 9:00 a.m. Pacific. Please confirm.

    In regard to t he logged redactions on pr ivilege and the issue of logging othe r objections, I'll get a
    letter to you today, setting out those issues. We will also send a response in writing on document
    numbers.

    Regard ing t he discovery sets you mention below, aga in, please set out you r specific
    positions/requests in a letter, so that we can discuss with our cl ient and attend a conference with
    (a) knowledge of your requests; and (b) ability to respond.


    On the issue of our disputes regarding the depositions for Crosby and Duffy, I mentioned yesterday
    that I could not guarantee that I would have a client answer today, and I do not. I'll keep wo rking on
    that.


    I'll look forward to spea king tomorrow. Please look for my separate letters.


    Best rega rds,
    Ton i Scott Reed

    Toni Scott Reed• St rasburger & Price, LLP
    901 Main St reet, Suite 6000, Dallas, TX 75202
    214 651 4345 • Fax 214 659-4091 • strasbucoec com




    From: Hayes, Daniel [mailto:dmh@msk.com]
    Sent: Tuesday, March 28, 2017 11:40 PM
    To: Reed, Toni; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/ Deposition Objections - Meet and Confer

    Toni,


    As we discussed today during our ca ll, please be prepared to address the following issues during our
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 39 of 52 Page ID #:661


    meet-and-confer tomorrow (Wednesday):


              •       Atlantic' s objections and responses to Plaintiffs' Second Sets of Requests for
                       Production and Interrogatories, and First Set of Requests for Admissions. We wil l
                       endeavor to send you a letter, as you requested, in advance of the ca ll. But given
                       Atlantic's wholesale refusa l to produce documents in response to most of the RFPs,
                       there is no reason we cannot discuss the RFP responses tomorrow without a pre-ca ll
                      letter.
              •       Whether Atlantic has logged redactions based on privilege and, assum ing it has not,
                       when it w ill do so.
              •       Atlantic' s objections to the individua l depositions of Mr. Duffy and Mr. Crosby. As we
                       discussed during the ca ll earlier today, we need an answer tomorrow (Wednesday)
                       to the question whether Atlantic intends to stand on its objections.


    Please also identify the production numbers for the ema ils involving Mr. Duffy and Mr. Crosby that
    you referenced at the bottom of Page 8 of your March 17 letter to me, in advance of our ca ll.


    We propose 2:00 p.m. Pacific for the ca ll. Please let us know whether that works.


    Dan




    Daniel M . Hayes I Partner, through his professional corporation
    T: 310.312.3216 I dmh@msk com
    Mitchell Silberberg & Knupp UP I www.msk.com
    11377 W. Olym pic Blvd., Los Angeles, CA 90064

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    From: Reed, Toni [mailto:Toni.Reed@strasburger.com]
    Sent: Tuesday, March 28, 2017 9:16 AM
    To: Hayes, Daniel; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: Plaintiffs' Second Set of Discovery Responses/ Deposition Objections - Meet and Confer

    Counse l,


    We need to comp let e a meet-and-confer on t he following:


          1. Plaintiffs' objections to designating a witness o n specific topics, served in response to the
              30(b)(6) notice to Plaint iffs (and Plaintiffs' fina l posit io n on designating a witness t o testify
              on contention topics);
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 40 of 52 Page ID #:662


        2.   Plaintiffs' objections and responses to second sets of written discovery (issues set out in our
             prior letter of March 24);
        3.   Atlantic's objections to the 30(b )(6) notice of deposition served on it.


    We need to complete this conference on Wednesday, March 29. We suggest 9:00 a.m. Pacific
    time. If that time does not work, please name a specific t ime tomorrow that will work.


    Best regards,
    Ton i Scott Reed

    Toni Scott Reed • Strasburger & Price, LLP
    901 Main Street, Suite 6000, Dallas, TX 75202
    214.651.4345 • Fax 214.659-4091 • Strasburger.com




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                        EXHIBIT 20
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 42 of 52 Page ID #:664


    From:              Haves Daniel
    To:                "Reed Toni"; shalamitskj Valentine; coyoca Lucia
    Cc:                "Keeley Michael"; "Crapster Cada"
    Subject:           RE: Plaintiffs" Second Set of Discovery Responses/Deposition Objections - Meet and Confer
    Date:              Friday, March 31, 2017 8:39:09 AM
    Attachments:       imaoeOOl.gif
                        3-31-2017 letter Haves to Reed (8751673) odf


    Toni,


    We made ourselves available starting at 10:30 a.m. yesterday, and told you we could ta lk any time
    after that. I said, if nothing else, we absolutely needed to take 30 minutes to discuss deposition
    schedu ling. You did not even bother to respond to my email. And need less to say, you never
    called. Instead, you filed a surprise ex porte application based in part, ironica lly, on Atlantic's
    purported inability to schedule depositions.


    Attached is Plaintiffs' meet-and-confer letter addressing Atlantic's objections and responses to
    Plaintiffs' Second Sets of Requests for Production and Interrogatories, and First Set of Requests for
    Admissions. Please be prepared to meet-and-confer on the issues set forth in this letter today when
    we speak.


    Let's address deposition scheduling first when we ta lk at 12:00 Pacific. Please be prepared to put
    names on the calendar. We wil l ca ll you.


    Dan




    Daniel M . Hayes I Partner, through his professional corporation
    T: 310.312.3216 I dmh@msk com
    Mitchell Silberberg & Knupp UP I www.msk.com
    11377 W. Olym pic Blvd., Los An geles, CA 90064


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     REPLY E-MAIL OR TELEPHONE, AND DELETE THE ORIGINAL MESSAGE AND ALL ATTACHMENTS FROM YOUR SYSTEM. THANK YOU.


    From: Reed, Toni [mailto:Toni.Reed@strasburger.com]
    Sent: Friday, March 31, 2017 6:29 AM
    To: Hayes, Daniel; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/Deposition Objections - Meet and Confer

    Hi Dan,


    This week has been extremely booked for me, so I did suggest the block oftime I had for yesterday.
    Apparently, it did not work in your schedule.
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 43 of 52 Page ID #:665



    I'm still ava ilable today for the suggested time (2 pm central/12 pm pacific) .

    Also, if we need some additional time to discuss depositions, on top of the afternoon slot, I'm
    available from 10:30 a.m. to 11:00 a.m. (my time) - 8 :30 a.m. pacific. To save time, you can
    certainly ema il me the substance you want to add ress on depositions, and we can go from there.


    Looking forward to making progress, and thanks in advance,
    Toni Scott Reed

    Toni Scott Reed • Strasburger & Price, LLP
    901 Main Street, Suite 6000, Dallas, TX 75202
    214.651.4345 • Fax 214.659-4091 • Strasburger.com




    From: Hayes, Daniel [mailto:dmh@msk.com]
    Sent: Thursday, March 30, 2017 12:01 PM
    To: Reed, Toni; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/Deposition Objections - Meet and Confer
    Importance: High

    Toni,


    We are available to t alk anytime today from 10:30 Pacific on. Please let us know what works for
    you . In any event, we absolutely need to ta lk today about deposition scheduling. Please confirm
    that you can speak for at least 30 minutes on that subject at 10:30 Pacific.


    Dan




    Daniel M . Hayes I Partner, through his professional corporation
    T: 310.312.3216 I d mh@ msk.com
    Mitchell Silberberg & Knupp LLP I www.msk.com
    11377 W . Olym pic Blvd., Los Angeles, CA 90064


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    From: Reed, Toni [ mailto:Toni.Reed@strasburger.com]
    Sent: Thursday, March 30, 2017 9:53 AM
    To: Hayes, Daniel; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/Deposition Objections - Meet and Confer
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 44 of 52 Page ID #:666


    Dan,


    I have seen your indication that you are not ava ilable for the suggested time for today. I am not able
    to clear my conflicts th is afternoon for the time you suggested.


    I am now suggesting Friday, March 31, at 2:00 central/12:00 noon Pacific. I am ava ilable for 1.5
    hours in that slot but must conclude at 3:30 my time.

    Best rega rds,
    Ton i Scott Reed

    Toni Scott Reed• Strasburger & Price, LLP
    901 Main Street, Suite 6000, Dallas, TX 75202
    214 651 4345 • Fax 214 659-4091 • strasbucoec com



    From: Reed, Toni
    Se nt: Wednesday, March 29, 2017 2:35 PM
    To: 'Hayes, Daniel'; Shalamit.ski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/Deposition Objections - Meet and Confer

    Dan,


    Unfortunately, I cannot start as late as 2:00 p.m. Pacific/4:00 p.m . Centra l time today. I am
    completely booked from 3:30 Centra l until late into this evening.


    I suggest t hat my requested call go forward on Thursday, March 30, to address my fi rst-made
    request noted below, on the items we have previously set out, including in correspondence. I
    suggest 9:00 a.m. Pacific. Please confirm.

    In regard to the logged redactions on privilege and the issue of logging other o bjections, I'll get a
    letter to you today, setting out those issues. We will also send a response in writing on document
    numbers.


    Regard ing t he discovery sets you mention below, aga in, please set out your specific
    positions/requests in a letter, so that we ca n discuss with our client and attend a conference with
    (a) knowledge of your requests; and (b) ability to respond.


    On the issue of our disputes regarding the depositions for Crosby and Duffy, I mentioned yesterday
    that I could not guarantee that I wou ld have a client answer today, and I do not. I'll keep wo rking on
    that.


    I'll look forward to speaking tomorrow. Please look for my separate letters.


    Best regards,
    Toni Scott Reed
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 45 of 52 Page ID #:667



    Toni Scott Reed • Strasburger & Price, LLP
    901 Main Street , Suite 6000, Dallas, TX 75202
    214.651.4345 • Fax 214.659-4091 • Strasburger.com




    From: Hayes, Daniel [mailto:dmh@msk.com]
    Sent: Tuesday, March 28, 2017 11:40 PM
    To: Reed, Toni; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: RE: Plaintiffs' Second Set of Discovery Responses/ Deposition Objections - Meet and Confer

    Toni,


    As we discussed today during our ca ll, please be prepared to address the following issues during our
    meet-and-confer tomorrow (Wednesday):


             •        Atlantic' s objections and responses to Plaintiffs' Second Sets of Requests for
                       Production and Interrogatories, and First Set of Requests for Admissions. We wil l
                       endeavor to send you a letter, as you requested, in advance of the call. But given
                       Atlantic's wholesale refusa l to produce documents in response to most of the RFPs,
                       there is no reason we cannot discuss the RFP responses tomorrow without a pre-ca ll
                       letter.
             •        Whether Atlantic has logged redactions based on privilege and, assuming it has not,
                      when it will do so.
             •        Atlantic's objections to the individua l depositions of Mr. Duffy and Mr. Crosby. As we
                       d iscussed during the ca ll earlier today, we need an answer tomorrow (Wednesday)
                       to the question whether Atlantic intends to stand on its objections.


    Please also identify the production numbers for the ema ils involving Mr. Duffy and Mr. Crosby that
    you referenced atthe bottom of Page 8 of your March 17 letter to me, in advance of our ca ll.


    We propose 2:00 p.m. Pacific for the call. Please let us know whether that works.


    Dan




    Daniel M . Hayes I Partner, through his professional corporation
    T: 310.312.3216 I d m h@msk. co m
    Mitchell Silberberg & Knupp LLP I www.msk.com
    11377 W. Olym pic Blvd., Los An geles, CA 90064


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    From: Reed, Toni [mailto:Toni,Reed@strasburger.com]
    Sent: Tuesday, March 28, 2017 9:16 AM
    To: Hayes, Daniel; Shalamitski, Valentine; Coyoca, Lucia
    Cc: Keeley, Michael; Crapster, Carla
    Subject: Plaintiffs' Second Set of Discovery Responses/ Deposition Objections - Meet and Confer

    Counse l,


    We need to comp lete a meet-and-confer on the following:


        1. Plaintiffs' objections to designating a witness o n specific topics, served in response to the
             30(b)(6) notice to Plaintiffs (and Plaintiffs' fina l position on designating a witness to testify
             on contention topics);
        2.   Plaintiffs' objections and responses to second sets of written discovery (issues set out in our
                prior letter of March 24);
        3.   Atlantic's objections to the 30(b )(6) notice of deposition served on it.


    We need to comp lete this conference on Wednesday, March 29. We suggest 9:00 a.m. Pacific
    t ime. If that time does not work, please name a specific t ime tomorrow that w ill work.


    Best regards,
    Toni Scott Reed

    Toni Scott Reed• Strasburger & Price, LLP
    901 Main Street, Suite 6000, Dallas, TX 75202
    214.651.4345 • Fax 214.659-4091 • Strasburger.com




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                        EXHIBIT 21
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 48 of 52 Page ID #:670


    From:              Haves Daniel
    To:                Joni Reed@strasburger com; Cada crapster@strasburger com; Michael Keeley@strasburger com
    Cc:                Coyoca I ucja; Sbalamttski Yaleotioe
    Subj ect:          UCP, et al. v. Atlantic
    Date:              Monday, April 03, 2017 7:33:25 AM
    Attachments:       imaoeOOl.gif
                       4:3-2017 letter Have,c; to Reed (8758186} odf


    Toni,


    Please see attached letter regarding our meet-and-confer ca ll this past Friday, and our ca ll schedul ed
    for today.


    Dan




    Daniel M . Hayes I Partner, through his professional corporation
    T: 310.312.3216 I dmh@msk com
    Mitchell Silberberg & Knupp UP I www.msk.com
    11377 W. Olympic Blvd., Los Angeles, CA 90064

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   <Wmsk
                                                                                                           Daniel M. Hayes
   MITCHELL SILBERBERG & KNUPP LLP                                                                                 Partner
   A LAW PARTNERSHIP INCLUDING PROFESSIONAL CORPORATIONS
                                                                                                     (310) 312·3216 Phone
                                                                                                        (310) 231·8436 Fax
                                                                                                            dmh@msk.com


   April 3, 2017


   VIA E-MAIL

   Toni Scott Reed
   Strasburger & P1ice, LLP
   901 Main Street
   Suite 6000
   Dallas, TX 75202

   Re:       Universal Cable Productions LLC, et al. v. Atlantic Specialty Insurance Companv

   Dear Toni:

   This email confnms our meet-and-confer telephone call F1iday afternoon.

         1. Notice of Withdrawal of Ex Parte Application. You confi1med that you would file a
             notice of withdrawal of the ex parte application filed Thursday. We received the same
             via ECF Friday afternoon. With respect to Atlantic's ex parte application filed Fiiday
             afternoon, we confnmed that Plaintiffs oppose Atlantic's request for a trial continuance,
             and also contend that Atlantic's request for ex parte relief is itself inapprop1iate.

         2. Deposition Scheduling.

                  a. You confi1med that Atlantic has withdrawn its objections to the deposition of
                     Sean Duffy and will produce him in Minneapolis without the time or scope
                     restrictions you had originally demanded. You proposed May 8, 2017 as the date
                     of his deposition. We asked you to provide earlier dates. You said you needed to
                     go back and check with Mr. Duffy.

                  b. You stated that you were not yet in a position to confirm that Atlantic would
                     withdraw its objections to the deposition of Dennis Crosby and produce him
                     without restriction. You stated that you needed one more person to approve
                     producing Mr. Crosby. I asked that you secure that approval before we speak
                     again on Monday at 12:00 p.m. Pacific. You indicated that you would try, but
                     could not guarantee you would be able to. As I flagged for you during our call,
                     given the case schedule, in the event we do not have your confnmation today that
                     Mr. Crosby will be produced without restriction, we intend to bring this issue to
                     the Magistrate Judge immediately.

                  c. We confnmed that the deposition of Stephen Smith will proceed on Ap1il 18,
                     2017 at MSK in Los Angeles.


                                                           11377 West Olympic Boulevard, Los Angeles, California 90064-1683
   8758132.1/46250·00001                                   Phone: (310) 312-2000 Fax: (310) 312-3100 Website: WWW.MSK.COM
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 50 of 52 Page ID #:672


   <Wmsk
   Toni Scott Reed
   April 3, 2017
   Page 2


                   d. Since you did not have available dates for Wanda Phillips, Pamela Jolmson,
                      Atlantic' s Rule 30(b)(6) designee(s), Ap1il dates for Mr. Duffy, or confnmation
                      that Atlantic would voluntarily produce Mr. Crosby, we were unable to schedule
                      any Atlantic witness depositions. We were prepared to work with you on Friday
                      to mutually schedule depositions, but that was not possible because you did not
                      know Atlantic' s witnesses' availability. We agreed to talk again today at 12:00
                      p.m. Pacific regarding deposition scheduling and other issues, addressed below. I
                      asked that you be prepared today at 12:00 p.m., with Atlantic 's witnesses '
                      availability, so that we can schedule the remaining depositions in a fair and
                      coordinated fashion.

                   e. Please note that if Atlantic is not prepared to schedule the depositions of its
                      witnesses today in good faith, we will have no choice but to b1ing the matter to
                      the Magistrate Judge immediately. And as I noted dming our call, an Atlantic
                      proposal that would involve scheduling all of the witnesses Plaintiffs seek to
                      depose for the last two weeks of the discove1y period does not constitute good
                      faith. Please come prepared with all available dates - between Ap1il 10 and May
                      12 - for each of Atlantic's witnesses. <:{ou asked which depositions were most
                      impo1tant to complete first, from Plaintiffs' perspective. Plaintiffs would like the
                      deposition of Wanda Phillips to proceed first and ASAP. Please check whether
                      Ms. Phillips is available for her deposition on April 10 in New York City.)

                        Plaintiffs have been attempting to confnm the overall deposition schedule for
                        weeks now. On March 24, I sent you a comprehensive email which proposed
                        dates for ten witnesses. The only deposition out of that group that has been
                        confirmed is one of ours, Stephen Smith on April 18. We have made no progress
                        in setting any of the others, even though Plaintiffs were ready, willing, and able to
                        discuss a comprehensive schedule during the meet-and-confers this week. I
                        emphasized the imp01iance of setting the deposition schedule in my Wednesday,
                        March 29 letter to you. I made myself available virtually the entire day on
                        Thursday, March 30 to discuss deposition scheduling, but you never called.
                        When we finally spoke F1iday, March 31, you weren't ready to have a
                        comprehensive discussion; you only had one date for one of your witnesses, Sean
                        Duffy. And as I told you on Friday, that date (May 8 - four days before the
                        discove1y cutoff) was not acceptable. It goes without saying that Atlantic cannot
                        be heard to complain that it needs a ttial continuance because it cannot take the
                        depositions it needs early enough, while Atlantic continues to stall the process of
                        setting depositions.

                   f.   I understand that the dates Atlantic prefers for the depositions it wishes to take are
                        the ones set f01th in the deposition notices it recently served. We will do our best
                        to accommodate those dates where possible, but you will need to be flexible in
                        our scheduling discussion on Monday, as it is not going to be possible to
                        accommodate all of the dates Atlantic unilaterally chose in its notices.




   8758132.1/46250-00001
Case 2:16-cv-04435-PA-MRW Document 41-1 Filed 04/03/17 Page 51 of 52 Page ID #:673


   <Wmsk
   Toni Scott Reed
   April 3, 2017
   Page 3


        3. Plaintiffs ' objections to Atlantic's Rule 30(b)(6) deposition notice. We discussed five
           categ01ies of topics that Plaintiffs objected to:

                   a. Topics which Plaintiffs contend would require the designee to apply law to fact or
                      render legal conclusions. This category is comprised of Topic Nos. 4, 8, 11, 13,
                      14, 28, 42, 44, and 49. Thank you for discussing what you believed were
                      pennissible types of questions in this catego1y. Having considered our
                      discussion, Plaintiffs maintain that questions which would require a percipient
                      witness to apply law to fact or reach a legal conclusion are inappropriate. And the
                      improp1iety of such questions is not cured by asking, for example, for the «facts
                      that support" a legal contention. Those types of questions require the application
                      of law to fact. Therefore, Plaintiffs intend to stand on the objections asse1ied. We
                      are willing to discuss this position fuiiher with you when we speak today, if you
                      would like to.

                   b. Topics relating to attorneys' fees incurred by Plaintiffs in the lawsuit and the
                      compensation arrangement with MSK. (Nos. 21 and 22). We understand that
                      Atlantic contends it is entitled to a designee on these topics as a result of
                      Plaintiffs' request for an award of attorneys' fees in connection with its second
                      claim for bad faith. We are still considering Atlantic's position.

                   c.   "Who at UCP was responsible for identifying the documents responsive to the
                        requests for production served in this case. " (No. 26). After considering our
                        conversation F1iday afternoon, we intend to stand on our objections. The decision
                        whether a pa1ticular document was responsive to a request for production was
                        made, as in most cases, by attorneys, and it is therefore not the approp1iate subject
                        of a Rule 30(b)(6) deposition.

                   d. "The basis for Your withholding ofdocuments in the Lawsuit on the basis of
                      privilege, protection, or exemption from discovery." (No. 27) . As I said dming
                        our call, tllis topic clearly calls for a witness to engage in legal analysis. Debates
                        over whether a pa1iicular document is p1ivileged can be resolved as they always
                        are - through challenges to privilege log entries. If the pa1ties cannot resolve
                        such challenges informally, we can bring them to the Magistrate Judge. Plaintiffs
                        intend to stand on their objections.

                   e. The relationship between Plaintiffs and various other entities. (Nos. 38-41). I
                      asked what the relevance of these topics was to the lawsuit. You said that
                      Atlantic needed to explore the relationship between entities in order to resolve our
                      p1ivilege log claims. I noted that was not a sufficient ground to require a
                      deposition - disputes over privilege objections should be handled as set fo1th
                      above. You also asse1ted that Atlantic needed to explore the relationship between
                      the pa1iies identified in these topics because the jmy Inight be confosed by the
                      fact that the Plaintiffs were not listed as insureds, and NBCUniversal was. I
                      frankly did not understand this point, and said that, in any event, it sounded like
                      an issue tl1at could be dealt with in pretrial submissions or stipulations. Fmther,


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                      the corporate stmcture relating to Plaintiffs, NBCUniversal, and the fact that
                      Plaintiffs are Named Insureds are detailed in the operative complaint. There is no
                      need for a Rule 30(b)(6) deposition on these topics. Based on our discussion
                      Friday afternoon, Plaintiffs intend to stand on their objections in connection with
                      these topics.

        4. MSJ filing date. We tentatively agreed that the pa1ties would file their respective
           motions for s1unmruy judgment on April 24, but that we would confam the same when
           we talk today. Please be prepru·ed to do so.

        5. Agenda for today. In addition to the above items afready discussed (resumption of
           deposition scheduling discussion, any remaining discussion over Plaintiffs' objections to
           Atlantic' s Rule 30(b)(6) notice, and confi1mation ofMSJ filing date), we agreed to
           address the following today at 12:00 p.m.:

                   a. Atlantic 's objections to Plaintiffs' Rule 30(b)(6) notice.

                   b. Plaintiffs' objections and responses to Atlantic's second set of inteITogatories and
                      requests for production.

                   c. Atlantic 's objections and responses to Plaintiffs' second sets of inteITogatories
                      and requests for production, and first set of requests for admission. Here, you
                      stated that you would do your best to be in a position to meet-and-confer over all
                      of the issues in out Matd1 31 letter, sent at 8:39 a.m. on Friday, but could not
                      guarantee that you would be able to discuss all issues. I confamed that if any
                      issues regarding Atlantic' s objections and responses to this discove1y remain after
                      our call today, we intend to b1ing those issues to the Magistrate Judge
                      immediately, whether or not you asse1t you ru·e prepared to discuss them. There is
                      simply not enough time to let discove1y disputes languish, and the Magistrate
                      Judge' s inf01mal procedure is designed, we believe, to facilitate quick resolution.
                      We should avail ourselves of that procedure where we cannot reach agreement
                      inf01mally.

   I look forward to continuing our discussion today at 12:00 p.m. Pacific.

   Sincerely,



   ~
   Daniel M. Hayes
   Prutner of
   MITCHELL SILBERBERG & K.NuPP LLP




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